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'i`lll-§SSLF.R l.LP

Michaela l11 Sozio, Esq. SBN 179148
msozio@tresslerllp.corn

jeanne Kuo Riggiris, Esqt, SBN 231441
jriggins@tresslerllp.com

1981 /\venue of the Stars. Sui`t‘e 450
i.os Angeles, CA 90067

(310) 203-4800

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UNI'I`ED STATES DIST-RICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

NF.S'I`LE USA, INC.1

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(.`.¢\SE NLfMlil§R‘

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CERTIFICATlON AND NOT!CF,
OF INTERES'I`ED PARTIES
(Local Rule 7.1-1)

 

l.)efendaltt{'§}

 

'l`O;

'I`he undersigned, counsel of record for

'l`HE COURT AND ALL PARTIES Ol: RF,CORD:

Pervine lioocls, l.LC

or party appearing in pro per, certifies that the iollowing §isted party (or parties) may have a pecuniary interest in
the outcome ofthis case. These representations are made to enable the Court to evaluate possible disqualification

or recusal

(l.ist the names olall such parties and identity their connection and interest Use additional sheet ifnecessary.]

PARTY
Nestle USA,inc.

Pervine i~`oods, LI.C

Pericin investments ill.C
Irvine Nutritiona§ ll.C

january 29, 2016
Date

CONNECTION f INTEREST
Plaintiff

l)e{enclant

'i`hese companies ore not parties but are owners ofPervine
I"oocls, l,l,C

Y<\

/S`ignature

Attor y ofrecord for (or name of party appearing in pro per):

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Pervine Foods, LI.C

 

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